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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION                                2OU!3I       PM I21
                                                                                 CLE                OURT
 COMMUNITY FINANCIAL SERVICES                       §                                               'EXAS
 ASSOCIATION OF AMERICA, LTD.                       §
 AND CONSUMER SERVICE                               §
 ALLIANCE OF TEXAS,                                 §
                 PLAINTIFFS,                        §
                                                    §
 V.                                                 §        CAUSE NO. A-18-CV-0295-LY
                                                    §
 CONSUMER FINANCIAL                                 §
 PROTECTION BUREAU AND                              §
 KATHLEEN LAURA KRANINGER, IN                       §
 HER OFFICIAL CAPACITY AS                           §
 DIRECTOR, CONSUMER FINANCIAL                       §
 PROTECTION BUREAU,                                 §
                 DEFENDANTS.                        §

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                                           LWJ1     P.1 P1




       Before the court is the above styled and numbered cause. Plaintiffs filed an Amended

Complaint on August 28, 2020 (Doc. #76). In light of the filing of the amended complaint and

having considered the applicable law,

       IT IS ORDERED that Plaintiffs' Motion for Extension of the Page Limit in Its Motion For

Preliminary Injunction and Plaintiffs' Motion for Preliminary Injunction filed September 14, 2018

(Docs. ##41 & 42), and Defendants' Motion to Extend Deadline For Response to Plaintiffs' Motion

for Preliminary Injunction filed September 17, 2018 (Doc. #43) are DISMISSED WITHOUT

PREJUDICE.

       SIGNED this                day of August, 2020.




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